       Case 5:11-cr-40020-JTM        Document 85       Filed 01/22/13     Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


 United States of America,
                      Plaintiff,


                      vs.                             Case No. 11-40020-02-JTM


 Gerard Lessard,
                      Defendant.




                             MEMORANDUM AND ORDER


       This matter is before the court on the defendant Gerald Lessard’s Motion to Modify

Sentence pursuant to Fed.R.Crim.Pr. 32.1. Lessard pled guilty to one count of filing a false

tax return in violation of 18 U.S.C. § 7206(l), and was sentenced to a one year term of

supervised release and restitution in the amount of $692,415.

       Lessard filed his motion after the government indicated it intended to garnish his

monthly social security payments, in the amount of $200. He notes that the judgment

explicitly recognizes his need to care for his elderly father (Dkt. 74, at 4), and states that

social security is his only income. He further asserts that to ensure the payment of the

restitution, as a part of the plea and judgment he assigned promissory notes, gained from

the sale of his business, in excess of $1 million. According to Lessard, the sale of the

business is currently generating $21,000 a month to the government. Finally, he notes that
       Case 5:11-cr-40020-JTM        Document 85       Filed 01/22/13     Page 2 of 5




the judgment explicitly provides that “[i]nterest relative to restitution is waived.” (Id.)

Lessard seeks a modification “to provide that the payments made to the government

pursuant to prior assignments far exceed current monthly income such that garnishment

of social security payments would be excessive and unjust.” (Dkt. 76, at 1).

       The government opposes the motion, offering five arguments why the motion

should be denied. First, it argues that, while the motion is styled a Rule 32.1 motion, this

is misleading. Rule 32.1 governs the modification of supervised release, and Lessard is

plainly not asking for a change in his supervised release status. Rather, the government

argues that the motion is simply a disguised collateral attack on how the award of

restitution is executed under 28 U.S.C. § 2241, and thus the motion is a violation of his plea

agreement, which explicitly waived any appeal or collateral attack. Second, the

government argues that Lessard’s motion violates the Payment Agreement he entered into

with the government, under which he explicitly agreed to monthly installment payments

of $244, or not less than 10% of his gross household income. Third, in the Plea Agreement,

Lessard explicitly acknowledged that he “understands that the schedule of payments is

merely a minimum schedule of payments and not the only method, nor a limitation on the

methods, available to the United States to enforce the judgment.” (Dkt. 61 at ¶ 14e). Fourth,

the government argues that Lessard has failed to exhaust his administrative remedies, as

the social security charge is an offset against a government benefit rather than a

“garnishment.” Finally, the government argues that future payments under the promissory




                                              2
        Case 5:11-cr-40020-JTM        Document 85       Filed 01/22/13     Page 3 of 5




notes are not secured or guaranteed, and the judgment explicitly provided that payment

on the restitution should be paid immediately.

        More generally, the government alleges that Lessard was placed on the Treasury

Offset Program (“TOP”), “as it does all criminal defendants owing restitution.” It also

states that when defendant’s counsel requested that he be removed from TOP, the

government requested that Lessard submit additional financial information as to the

proceeds from his business sales, and that Lessard filed the present motion rather than

supplying the additional information.

        In his Reply, Lessard argues generally that there was no “meeting of minds” as to

the Payment Agreement, and that the government has all protected rights as an assignee

under Kansas law. The court need not resolve these questions, as it determines that two

independent rationales support the denial of the defendant’s motion.

        First, under Paragraph 10 of the Plea Agreement, the defendant comprehensively

waived “any right to challenge ... or otherwise attempt to modify ... his sentence.” This

general waiver was subject to only four exceptions: (1) if the court departed upward from

the guideline range, (2) the government appealed the sentence, (3) prosecutorial

misconduct, or (4) ineffective assistance of counsel. None of these exceptions is applicable

here.

        Second, any claim of hardship must be presented administratively. 18 U.S.C. § 3613

gives the government the authority to enforce civil restitution orders through a TOP offset.

        The TOP is plainly an administrative practice and procedure under federal
        law that, by its terms, is available as a means to collect debts owed the United

                                               3
       Case 5:11-cr-40020-JTM           Document 85        Filed 01/22/13      Page 4 of 5




       States. The procedure is established by statute and administered under
       implementing regulations, which provide due process to debtors against
       whom offset is sought. While government counsel hyperbolically (and
       incorrectly) argues that “the offset process is an administrative process
       beyond the jurisdiction of this Court,” still, defendant must, in the first instance,
       seek administrative relief as prescribed by the statute and implementing regulations.
       Judicial review of administrative processes and decisions is available, of
       course, but it is limited, and to obtain relief defendant would generally be
       required to show arbitrary, capricious, or plainly unlawful conduct on the part of the
       administrative decision-makers.

United States v. Mayer, No. 04-100-1-SM, 2010 WL 4916561, *1 (D.N.H. Dec. 3, 2010)

(emphasis added).

       The defendant correctly notes (Dkt. 81, at 3) that Mayer observes that a TOP offset

under 31 U.S.C. § 3716 has several qualifications, such as written notice to the defendant

of the proposed offset, but fails to note the observation by Mayer that such conditions may

be presumed satisfied where the defendant fails to affirmatively charge their absence. 2010

WL 4916561, at *1-2. Here, the record before the court establishes that Lessard was notified

of the TOP charge, and the defendant has had ample opportunity to review the charges

against him; any opportunity for review of the of the TOP charge was forestalled by the

present motion. Once such an administrative claim is presented, “[t]he collecting agency

may offset less than the law permits, but it is not required to do so. That is a matter of

administrative discretion, and the collecting agency is where [the defendant] must press

his request.” Id.




                                                 4
       Case 5:11-cr-40020-JTM     Document 85     Filed 01/22/13   Page 5 of 5




      IT IS ACCORDINGLY ORDERED this 18th day of January, 2013, that the defendant’s

Motion to Modify (Dkt. 76) is hereby denied.



                                               s/ J. Thomas Marten
                                               J. THOMAS MARTEN, JUDGE




                                          5
